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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                   at KANSAS CITY

BRAD MUHL                                       )
                                                )
and                                             )
                                                )
JOHN F. EDGAR,                                  )
                                                )
      Individually, and on behalf of            )
      all others similarly situated,            )        Case No. 11-cv-2432 WEB/KMH
                                                )
          Plaintiffs,                           )
                                                )
v.                                              )
                                                )
ERUCES, INC.                                    )
                                                )
and                                             )
                                                )
BASSAM KHULUSI                                  )
                                                )
and                                             )        Jury Trial Demanded
                                                )
ROBERT J. ECKHOLT                               )
                                                )
and                                             )
                                                )
SAM KHULUSI                                     )
                                                )
and                                             )
                                                )
PC MALL, INC.,                                  )
                                                )
          Defendants.                           )

                                   CLASS ACTION COMPLAINT

          Come now plaintiffs, individually and on behalf of all others similarly situated, and

for their claims against defendants, state and allege as follows:
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                       PARTIES, JURISDICTION AND VENUE

        1.      Plaintiff Brad Muhl (“Muhl”) is, and at all pertinent times herein was, a

resident of Kansas. He purchased shares of Series A and B Preferred stock of Eruces and is,

and at all times pertinent herein was, an owner of shares of the stock of Eruces.

        2.      Plaintiff John F. Edgar (“Edgar”) is, and at all pertinent times herein was, a

resident of Kansas. He is, and at all times pertinent herein was, a holder of a Convertible

Debenture on which defendant Eruces, Inc. (“Eruces”) is the obligor, and is and was an

owner of common stock in Eruces.

        3.      Defendant Eruces is a foreign for-profit corporation registered and licensed

to do business in Kansas, with its principal place of business at 11142 Thompson Avenue,

Lenexa, Kansas. Defendant Eruces purports to be a developer of software which provides

data security for businesses.

        4.      Defendant Bassam Khulusi is a founder and the President and Chief

Executive Officer of Eruces. On information and belief, he is, and at all pertinent times

herein was, a resident of Kansas. At all pertinent times, he was acting as an agent of Eruces,

Inc. as well as Defendants Sam Khulusi and PC Mall, Inc.

        5.      Defendant Robert J. Eckholt (“Eckholt”) is Chief Financial Officer and a

director of Eruces. He is, and at all pertinent times herein was, a resident of Kansas. At all

pertinent times, he was acting as an agent of Eruces, Inc. as well as Defendants Sam Khulusi

and PC Mall, Inc.

        6.      Defendant Sam Khulusi is or was secretary and a director of Eruces, and is a

founder and the President and CEO of PC Mall, Inc. On information and belief, he is a

resident of California. At all pertinent times alleged herein, he acted individually and within

the course and scope of his agency and/or employment with PC Mall, Inc. He individually



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and/or through his agents referenced herein purposely availed himself of the rights, benefits

and laws of the state of Kansas and subjected himself to the jurisdiction of this Court by the

conduct alleged in this Complaint.

        7.       Defendant PC Mall, Inc. (“PC Mall”) is a foreign corporation with its

principal place of business in California. At all pertinent times alleged herein, it acted by and

through its agents and/or employees, including but not limited to Sam Khulusi, Bassam

Khulusi and Robert J. Eckholt. Through its agents referenced herein, PC Mall purposely

availed itself of the rights, benefits and laws of the state of Kansas and subjected itself to the

jurisdiction of this Court by the conduct alleged in this Complaint.

        8.       Jurisdiction is appropriate in this Court pursuant to the Securities Exchange

Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78aa, and 28 U.S.C. § 1331. Claims asserted

herein arise under Sections 10(b) and 20(a) of the Exchange Act, 15 U.S.C. §§ 78j(b) and

78t(a), and the rules and regulations promulgated thereunder by the SEC, including Rule

10b-5 (17 CFR § 240.10b-5). Subject matter jurisdiction also exists over the related state law

claims set forth herein pursuant to 28 U.S.C. § 1367.

        9.       Defendants are subject to personal jurisdiction in this Court because they

personally, and by the actions and omissions of their agents, performed the wrongful acts

which give rise to these claims in Kansas.

        10.      Venue is proper in this judicial district pursuant to the Exchange Act and 28

U.S.C. § 1391(b), because many of the acts and omissions which form the basis of these

claims occurred in this judicial district. Further, Eruces maintains its principal place of

business within this judicial district, and defendants Bassam Khulusi and Robert J. Eckholt

reside within this judicial district.




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                                  BACKGROUND FACTS

          11.   Eruces was founded in or around 1999, by Bassam Khulusi and others in his

family.

          12.   Thereafter, in an effort to generate capital funds, Bassam Khulusi, Robert

Eckholt and others began to solicit capital investments in the business from private

individuals. These solicitations were commonly made through in-person meetings with the

targeted potential investor.

          13.   Bassam Khulusi, Eckholt and others solicited and obtained capital

investment in Eruces by convincing individuals to purchase preferred and common stock in

Eruces, as well as by convincing individuals to loan the company funds in exchange for

receipt of convertible debentures, on which Eruces was the obligor.

          14.   In connection with these capital solicitations, Bassam Khulusi, Eckholt and

others routinely and repeatedly made representations about material facts, including but not

limited to Eruces’ financial health, corporate intentions and business prospects which they

knew were false, including:

                a.      that Eruces had an imminent deal with IBM by which IBM would

                        purchase all or substantially all of the assets of Eruces at a substantial

                        profit to the stockholders;

                b.      that Eruces had an imminent deal with Cisco by which Cisco would

                        purchase all or substantially all of the assets of Eruces at a substantial

                        profit to the stockholders;

                c.      that IBM, Cisco and companies of similar stature had entered into

                        confidentiality agreements with Eruces enabling the companies to




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                       perform the requisite due diligence on Eruces in connection with the

                       imminent purchase of Eruces’ stock;

               d.      that Eruces had an imminent deal with the United States Department

                       of Defense by which the Department of Defense was going to

                       commit a substantial amount of financial resources to the purchase

                       of Eruces’ software and product support;

               e.      that Eruces has a confidentiality agreement with the United States

                       government that limits the information about Eruces’ business

                       operations and finances that Eruces can provide to its shareholders;

               f.      that a sale of Eruces assets at a substantial profit was imminent;

               g.      that monies invested would be used to support Eruces’ business

                       operations and to support and grow Eruces as a company;

               h.      that the investment in Eruces was safe and was backed by the

                       Khulusi family; and

               i.      other fraudulent misrepresentations that will be learned through

                       discovery.

       15.     These misrepresentations were made separately and independently, on

numerous occasions, by Bassam Khulusi, Robert Eckholt, and other Eruces

agents/employees, and they intended for Lead Plaintiffs and the other members of the Class

to rely on their representations when considering investment in Eruces.

       16.     By way of example, on June 25, 2003, defendant Eckholt met with Lead

Plaintiff Muhl in Leawood, Kansas, in an effort to induce continued investment by Mr. Muhl

in Eruces. At that meeting, defendant Eckholt advised Mr. Muhl that a sale of Eruces stock




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was imminent, and that the sale would close within a matter of weeks at a substantial profit

considering the sales price offered to Mr. Muhl.

       17.     By way of further example, on June 16, 2004, defendant Eckholt met with

Lead Plaintiff Edgar at a restaurant on the Country Club Plaza in Kansas City, Missouri, in

which he represented to Mr. Edgar that Eruces had obtained a commitment from the United

States government to enter into one or more large purchase agreements with Eruces, and

that this government interest in Eruces’ products was the catalyst making a sale of Eruces

imminent. Defendant Eckholt further stated that, when sold, the sale of Eruces was to be at

a value of $10 per share of Eruces common stock. At that meeting, Mr. Edgar invested

$50,000 in Eruces in exchange for the Convertible Debenture, and further invested $4,500 in

Eruces common stock at $.03 per share. The $4,500 in stock was requested by defendant

Eckholt to be made by way of check payable to Bassam Khulusi. Lead Plaintiff Edgar was

assured by defendant Eckholt that the investment in Eruces was safe because it was backed

by the wealthy Khulusi family.

       18.      Defendants Bassam Khulusi, Eckholt and Sam Khulusi took portions of the

capital that was invested in Eruces by Lead Plaintiffs and the other members of the Class,

whether by way of preferred or common stock purchase or convertible debenture, and from

time to time would transfer those funds to PC Mall, Inc., in an effort to inflate PC Mall’s

financial reports, rather that use the capital to support Eruces’ business operations as they

represented would be done in their solicitations.

       19.     Eruces’ business has dwindled over time, and today Eruces stands in default

on most, if not all, of the convertible debentures, and the holders of Eruces preferred and

common stock are unlikely to receive any return on their investment.




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         20.   Defendants never intended to utilize the capital raised in their solicitations

described above to support and/or grow Eruces’ business operations; rather, they intended

and did use those funds to support themselves personally and to support the Khulusi

family’s other business operations, including PC Mall.

         21.   Defendants had motive to fraudulently induce Lead Plaintiffs’ and the other

members of the Class’ investment in Eruces because defendants intended to use the invested

monies from Lead Plaintiffs and the other members of the Class for their own personal

benefit, to provide capital which would have otherwise been unavailable to pay their own

wages, and to support other Khulusi family interests, including but not limited to PC Mall,

Inc., and defendants knew that if Lead Plaintiffs and the other members of the Class were

provided with all true, accurate and complete information about Eruces’ financial condition

and business prospects, Lead Plaintiffs and the other members of the Class would not invest

in Eruces.

         22.   Defendants had opportunity to fraudulently induce Lead Plaintiffs’ and the

other members of the Class’ investment in Eruces because they were corporate officers,

directors, and insiders with access to all inside information regarding Eruces’ finances and

business operations and prospects, and because they were personally involved in the

solicitation of private equity investments from Lead Plaintiffs and the other members of the

Class.

         23.   Defendants’ misrepresentations were knowing and/or reckless, in that

defendants had actual knowledge of the truth of the matters represented and possessed all

information that would establish the truth or falsity of all matters pertaining to Eruces’

finances and business operations and prospects, yet defendants misrepresented this




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information in an effort to generate private equity investments from Lead Plaintiffs and the

other members of the Class in the form of stock purchases and/or debenture investments.

        24.        The frauds, misrepresentations and material omissions described herein

continued over time and continues to this day. It was only recently discovered by Lead

Plaintiffs, and may still not be known by many members of the Class. For these reasons,

this action is filed timely and is not barred by any applicable statute of limitation.

                LEAD PLAINTIFFS’ CLASS ACTION ALLEGATIONS

        25.        Lead plaintiffs Brad Muhl and John F. Edgar bring this class action pursuant

to Federal Rule of Civil Procedure 23, on behalf of themselves and all other persons who

purchased or otherwise acquired Eruces preferred and common stock and/or convertible

debentures.

        26.        This action may properly be maintained as a class action as a result of the

following facts:

                   a. The members of the Class for whose benefit this action is brought are

                      located throughout the United States, and are so numerous that joinder

                      of all members of the putative Class is impracticable;

                   b. Lead Plaintiffs’ claims are typical of the claims of the other members of

                      the Class, and plaintiffs and all members of the Class sustained damages

                      as a result of the defendants’ wrongful acts and omissions alleged herein;

                   c. Lead Plaintiffs are representative parties who will fairly and adequately

                      protect the interests of the other members of the Class, and has retained

                      counsel experienced in complex litigation and competent to handle this

                      action;




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                d. A class action is superior to all other available methods for the fair and

                   efficient adjudication of the claims asserted herein, because joinder of all

                   members is impracticable. Further, because the damages suffered by

                   certain individual class members may be relatively small, the expense and

                   burden of litigating these relatively small but complex claims individually

                   make it virtually impossible for all Class members to separately redress

                   the wrongs done to them; the likelihood of individual Class members

                   prosecuting separate claims is remote;

                e. Lead Plaintiffs anticipate no unusual difficulties in the management of

                   this action as a class action; and

                f. The questions of law and fact common to members of the Class

                   predominate over any questions affecting any individual members of the

                   Class.

       27.      The questions of law and fact which are common to the Class include,

among others:

                a. Whether the federal securities laws were violated by the Defendants’ acts

                   as alleged in this Complaint;

                b. Whether the representations made by defendants during their

                   solicitations omitted or misrepresented information about Eruces’

                   financial condition and/or business prospects;

                c. Whether defendants failed to correct previously issued statements they

                   knew to be false or they recklessly disregarded the truth or falsity of their

                   statements;




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                d. Whether defendants failed to disclose material, adverse information at a

                    time when they were in possession of it;

                e. Whether defendants acted with knowledge or reckless disregard for the

                    truth in omitting and/or misrepresenting material facts;

                f. Whether defendants participated in and pursued the common course of

                    conduct alleged herein; and

                g. Whether the members of the Class have sustained damages and, if so,

                    what is the proper measure or method of measurement thereof.

                                  COUNT I
                 VIOLATION OF § 10(b) OF THE EXCHANGE ACT

        28.     Lead Plaintiffs incorporate herein by reference, as if fully stated herein, the

contents of all preceding paragraphs.

        29.     Defendants, individually and in concert, engaged in a common plan, scheme,

and course of conduct described above, pursuant to which they knowingly or recklessly

engaged in acts, transactions, practices and a course of conduct which operated as a fraud on

Lead Plaintiffs and the other members of the Class, and made various false statements of

material facts and omitted material facts in their communications to Lead Plaintiffs and the

other members of the Class.

        30.     Defendants Bassam Khulusi and Eckholt, as executive officers and/or

directors of Eruces, had actual knowledge of the falsity of the material statements described

above, and intended to deceive Lead Plaintiffs and the other members of the Class or, in the

alternative, acted with reckless disregard for the truth by failing to ascertain and disclose the

true facts in the statements made by them as part of their solicitations of Lead Plaintiffs and

the other members of the Class as described above.




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        31.      The facts alleged herein compel a strong inference that the defendants made

material false and misleading statements to Lead Plaintiffs and the other Class members with

scienter, in that defendants knew the statements they made as described above were

materially false and misleading, and they knowingly and substantially participated or

acquiesced in such statements as primary violators of the federal securities laws.

        32.      In ignorance of the falsity of the reports and statements made by defendants,

and defendants’ deceptive and manipulative devices and contrivances, Lead Plaintiffs and the

other members of the Class reasonably relied, to their detriment, on defendants’ statements

and representations described above in making their investments in Eruces, by way of stock

purchases and/or debenture.

        33.      Had Lead Plaintiffs and the other members of the Class known of the

material misstatements and misrepresentations of defendants described above, they would

not have made the investments in Eruces that they did.

        34.      As a direct and proximate result of the wrongful conduct alleged herein, Lead

Plaintiffs and the other members of the Class have suffered damages in an amount to be

established at trial.

        35.      By reason of the foregoing, defendants have violated § 10(b) of the Exchange

Act and Rule 10b-5 promulgated thereunder and are liable to Lead Plaintiffs and all

members of the Class for the substantial damages they suffered in connection with their

investment in Eruces.




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                                   COUNT II
                           VIOLATION OF THE KANSAS
                     UNIFORM SECURITIES ACT, K.S.A. § 17-12A501

        36.     Plaintiffs incorporate herein by reference, as if fully stated herein, the

contents of all preceding paragraphs.

        37.     As set forth herein, defendants directly or indirectly, knowingly or recklessly,

by use of the means or instrumentality of interstate commerce, or of the mails, or of the

facilities of a national security exchange in connection with the purchase or sale of securities:

(a) have employed schemes and artifices to defraud Lead Plaintiffs and others; (b) have made

untrue statements of material fact, and have omitted and failed to state material facts

necessary in order to make statements made, in light of the circumstances under which they

were made, not misleading; and (c) have engaged in transactions, acts, practices and courses

of business which operated or would operate as a fraud or deceit upon purchasers of

securities.

        38.     Defendants repeatedly made false statements to Lead Plaintiffs and the other

members of the Class about material facts, including but not limited to Eruces’ financial

health, corporate intentions and business prospects which they knew were false, including:

                a.      that Eruces had an imminent deal with IBM by which IBM would

                        purchase all or substantially all of the assets of Eruces at a substantial

                        profit to the stockholders;

                b.      that Eruces had an imminent deal with Cisco by which Cisco would

                        purchase all or substantially all of the assets of Eruces at a substantial

                        profit to the stockholders;

                c.      that IBM, Cisco and companies of similar stature had entered into

                        confidentiality agreements with Eruces enabling the companies to



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                        perform the requisite due diligence on Eruces in connection with the

                        imminent purchase of Eruces’ stock;

               d.       that Eruces had an imminent deal with the United States Department

                        of Defense by which the Department of Defense was going to

                        commit a substantial amount of financial resources to the purchase

                        of Eruces’ software and product support;

               e.       that Eruces has a confidentiality agreement with the United States

                        government that limits the information about Eruces’ business

                        operations and finances that Eruces can provide to its shareholders;

               f.       that a sale of Eruces assets at a substantial profit was imminent;

               g.       that monies invested would be used to support Eruces’ business

                        operations and to support and grow Eruces as a company;

               h.       that the investment in Eruces was safe and was backed by the

                        Khulusi family; and

               i.       other fraudulent misrepresentations that will be learned through

                        discovery.

       39.     Defendants acted with either a conscious intent to defraud Lead Plaintiffs

and the other members of the Class or a high degree of recklessness in making these false

representations.

       40.     The facts described in detail above demonstrate a strong inference of

defendants’ wrongful state of mind or high degree of recklessness in misrepresenting the

truth of the matter in order to induce Lead Plaintiffs’ and the other members of the Class’

investment in Eruces.




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       41.     Defendants benefitted as alleged above, including but not limited to the ways

described in paragraphs 11-24.

       42.     Lead Plaintiffs’ and the other members of the Class’ decisions to invest in

Eruces stock and debentures were made as a result of defendants’ false and misleading

statements discussed in detail above.

       43.     Lead Plaintiffs and the other members of the Class relied on the

misrepresentations and deception discussed above in investing in Eruces stock and

debentures.

       44.     As a direct and proximate result of defendants’ misrepresentations and

actions, Lead Plaintiffs and the other members of the Class have suffered a severe economic

loss by investing money into a failing company which is in default on its obligations to its

investors and others.

       45.     By reason of the foregoing, defendants, directly or indirectly, have violated

K.S.A. §17-12a501.

                                        COUNT III
                                 BREACH OF CONTRACT
                                  (Defendant Eruces, Inc.)

       46.     Plaintiffs incorporate herein by reference, as if fully stated herein, the

contents of all preceding paragraphs.

       47.     In exchange for funds paid to Eruces, Inc. by Lead Plaintiff John F. Edgar

and other members of the Class, Eruces issued convertible debentures by which Eruces

promised and agreed to repay the principal amount of the debenture on a date certain, and

to pay interest on the principal amount of the debenture quarterly between the date of

issuance of the debenture and the date of maturity, redemption or conversion.




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        48.     The terms of the convertible debentures also provided that Eruces would be

in default under the debenture agreement upon the following events:

                (a)     default in the payment of any interest upon the convertible debenture

                        when it became due and payable, with a 15 day grace period to cure;

                        or

                (b)     default in the payment of the principal amount of the convertible

                        debenture when it became due and payable; or

                (c)     failure to issue the holder of the convertible debenture Eruces stock

                        upon exercise by the holder of his/her conversion rights; or

                (d)     a voluntary or involuntary bankruptcy.

        49.     In the event of default, the terms of the convertible debentures provided that

the principal plus accrued interest would become immediately due and payable, and the

holder’s right to such relief would be entitled to enforce these rights by filing a lawsuit.

        50.     Eruces, Inc. is in default on its obligations under the convertible debentures

issued to Lead Plaintiff John F. Edgar and the other members of the Class holding

convertible debentures because it has failed and refused to make interest payments and has

failed to make payments of the principal amounts of the convertible debentures when they

became due and payable.

        51.     By its failures described above, Eruces, Inc. is in default of the convertible

debenture contracts with Lead Plaintiff John F. Edgar and the other members of the Class

holding convertible debentures.

        52.     As a result of Eruces, Inc.’s breach of these contracts, Lead Plaintiff John F.

Edgar and the other members of the Class holding convertible debentures have suffered




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damages in an amount equal to the principal amount of these convertible debentures plus

the accrued and unpaid interest on these convertible debentures.

                                          COUNT IV
                                           FRAUD

        53.     Lead Plaintiffs incorporate herein by reference, as if fully stated herein, the

contents of all preceding paragraphs.

        54.     As set forth in detail above and specifically incorporated herein by reference,

Defendants made false and blatant misrepresentations to Lead Plaintiffs and the other

members of the Class, and withheld and remained silent about material information in their

communications with Lead Plaintiffs and the other members of the Class.

        55.     These false representations and withheld material information concerned

Eruces’ financial condition, business operations and business prospects.

        56.     These false representations and withheld material information further

concerned Eruces’ intended use of the invested funds, and specifically that the funds would

be utilized to support Eruces’ business operations. At no time did defendants inform Lead

Plaintiffs and the other members of the Class that the invested funds, or portions of them,

would be utilized to support the finances and/or business operations of other Khulusi

family interests, such as PC Mall, Inc.

        57.     Each and every one of these representations was false.

        58.     Even though Defendants knew that their representations were false at the

time that the representations were made, and that the information they supplied was

incomplete and lacking material, adverse information, Defendants intended for Lead

Plaintiffs and the other members of the Class to rely upon the representations and the

incomplete information.




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       59.     The representations made and incomplete information provided by

defendants were material to Lead Plaintiffs’ and the other members of the Class’ decisions to

invest in Eruces, both by preferred and common stock ownership and by debenture

investment.

       60.     Lead Plaintiffs and the other members of the Class did not know, nor could

they discover, that defendants’ statements were false and incomplete.

       61.     Lead Plaintiffs and the other members of the Class justifiably relied upon

defendants’ misrepresentations and incomplete information.

       62.     Defendants’ actions were done in a willful, deliberate, wanton, and malicious

manner and without regard to the truth or falsity of its statements and actions.

       63.     As a result of defendants’ actions, Lead Plaintiffs and the other members of

the Class have been severely damaged in a significant amount to be determined at trial.

                                    COUNT V
                         BREACH OF FIDUCIARY DUTY
                  (Defendants Bassam Khulusi and Robert J. Eckholt)

       64.     Plaintiffs incorporate herein by reference, as if fully stated herein, the

contents of all preceding paragraphs.

       65.     Defendants Bassam Khulusi and Robert J. Eckholt are, and were at all

pertinent times, officers and directors of defendant Eruces, Inc.

       66.     As officers and directors of the company, these defendants owed Lead

Plaintiffs and the other members of the Class a strict and high fiduciary duty to act in the

best interests of Eruces, Inc. and Lead Plaintiffs and the other members of the Class as

shareholders and debenture holders.

       67.     These defendants knowingly and intentionally breached their fiduciary duties

by their conduct described above.



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        68.     Defendants’ actions were done in a willful, deliberate, wanton, and malicious

manner.

        69.     As a result of defendants’ actions, Lead Plaintiffs and the other members of

the Class have been severely damaged in a significant amount to be determined at trial.

                                 COUNT VI
                       TORTIOUS INTERFERENCE
  (Defendants Bassam Khulusi, Sam Khulusi, PC Mall, Inc., and Robert J. Eckholt)

        70.     Plaintiffs incorporate herein by reference, as if fully stated herein, the

contents of all preceding paragraphs.

        71.     Lead Plaintiffs and the other members of the Class had an existing

contractual relationship with Eruces, Inc., as well as a prospective business advantage or

relationship.

        72.     Defendants Bassam Khulusi, Sam Khulusi, PC Mall, Inc., and Robert J.

Eckholt knew of these existing and prospective contractual and business relationships.

        73.     These defendants intentionally and without justification interfered with these

existing and prospective contractual and business relationships by their acts and omissions as

described herein and above.

        74.     But for these defendants’ intentional interference with these existing and

prospective contractual and business relationships, Lead Plaintiffs and the other members of

the Class were reasonably certain to have continued in these existing and prospective

contractual and business relationships and to have realized the economic benefit expected of

these relationships.

        75.     Defendants’ actions were done in a willful, deliberate, wanton, and malicious

manner.




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       76.     As a result of defendants’ actions, Lead Plaintiffs and the other members of

the Class have been severely damaged in a significant amount to be determined at trial.

                                 COUNT VII
                             CIVIL CONSPIRACY
          (Defendants Bassam Khulusi, Sam Khulusi and Robert J. Eckholt)

       77.     Plaintiffs incorporate herein by reference, as if fully stated herein, the

contents of all preceding paragraphs.

       78.     Defendants Bassam Khulusi, Sam Khulusi and Robert J. Eckholt conspired

together to perpetrate the fraud on Lead Plaintiffs and the other members of the Class, to

commit the tortious interference with Lead Plaintiffs’ and the other members of the Class’

business relationships and expectancies, and to commit the breach of fiduciary duty, all as

described above.

       79.     There was a meeting of the minds among these defendants to perpetrate this

fraudulent scheme, tortious interference and breach of fiduciary duty in order obtain funds

to benefit them personally and to benefit other Khulusi family businesses, including PC Mall,

Inc.

       80.     In furtherance of their conspiracies, these defendants perpetrated the

fraudulent scheme, tortuous interference and breach of fiduciary duty described above.

       81.     These conspiracies, and Defendants’ actions in furtherance of these

conspiracies, were done in a willful, deliberate, wanton, and malicious manner.

       82.     As a result of defendants’ conspiracies and actions in furtherance of these

conspiracies, Lead Plaintiffs and the other members of the Class have been severely

damaged in a significant amount to be determined at trial.

       WHEREFORE, Lead Plaintiffs, on behalf of themselves and all other members of

the Class, demands judgment against defendants as follows:



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            a.      A determination by this Court that this action is properly

            maintainable as a class action pursuant to Federal Rule of Civil Procedure 23;

            b.      A certification by this Court of Lead Plaintiffs as the Class

            Representatives and their counsel as Lead Class Counsel;

            c.      A determination that the defendants violated the federal and state

            securities laws and committed breach of contract, fraud, breach of fiduciary

            duty, tortious interference and civil conspiracy by reason of their conduct

            alleged herein;

            d.      An award of compensatory and exemplary or punitive monetary

            damages against all of the defendants;

            e.      An award to Lead Plaintiffs of the costs, expenses and disbursements

            incurred in prosecuting this action, including reasonable attorneys’ fees and

            other recoverable expenses of litigation; and

            f.      An award to Lead Plaintiffs and the other members of the Class of

            such other and further relief as the Court may deem just and proper under

            the circumstances.

                              JURY TRIAL DEMAND

    A trial by jury on all issues triable by jury is hereby demanded.

                    DESIGNATION OF PLACE OF TRIAL

    Kansas City is hereby designated as the place of trial.




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                                    Respectfully submitted by,

                                    PROTZMAN LAW FIRM, LLC


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